          Case 1:10-vv-00505-UNJ Document 83 Filed 05/15/15 Page 1 of 7




       In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS
                                           No. 10-505V
                                       Filed: April 21, 2015

* * * * * * * * * * * * * * * *                            UNPUBLISHED
ALICIA OLUND,                                *             Special Master Dorsey
                                             *
              Petitioner,                    *
                                             *             Joint Stipulation on Damages;
v.                                           *             Human Papillomavirus (“HPV”)
                                             *             Vaccine; Guillain-Barré Syndrome
SECRETARY OF HEALTH                          *             (“GBS”); Chronic Inflammatory
AND HUMAN SERVICES,                          *             Demyelinating Polyneuropathy
                                             *             (“CIDP”); Autoimmune
              Respondent.                    *             Polyneuropathy.
* * * * * * * * * * * * * * * *
Lawrence R. Cohan, Anapol, Schwartz, et al., Philadelphia, PA, for petitioner.
Debra Begley, United States Department of Justice, Washington, DC, for respondent.

                                            DECISION1

       On August 3, 2010, Alicia Olund (“petitioner”)2 filed a petition for compensation
pursuant to the National Vaccine Injury Compensation Program. 42 U.S.C. §§ 300aa-1 to -34
(2006).3 Petitioner received an influenza (“flu”) vaccine on October 15, 2007, the human
papillomavirus (“HPV”), tetanus, diphtheria, acellular-pertussis (“Tdap”), and varicella vaccines
on November 6, 2007; a second HPV vaccine on January 14, 2008; and a third HPV vaccine on
1
  Because this decision contains a reasoned explanation for the undersigned’s action in this case,
the undersigned intends to post this ruling on the website of the United States Court of Federal
Claims, in accordance with the E-Government Act of 2002, Pub. L. No. 107-347, § 205, 116
Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501 note (2006)). As provided by
Vaccine Rule 18(b), each party has 14 days within which to request redaction “of any
information furnished by that party: (1) that is a trade secret or commercial or financial in
substance and is privileged or confidential; or (2) that includes medical files or similar files, the
disclosure of which would constitute a clearly unwarranted invasion of privacy.” Vaccine Rule
18(b).
2
  The National Vaccine Injury Compensation Program is set forth in Part 2 of the National
Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended,
42 U.S.C. §§ 300aa-1 to -34 (2006) (Vaccine Act or the Act). All citations in this decision to
individual sections of the Vaccine Act are to 42 U.S.C.A. § 300aa.
3
 The petition was originally filed by Barbara and Curt Olund, petitioner’s parents. On February
12, 2015, Alicia Olund reached the age of majority and the caption of the case was amended on
February 18, 2015, to reflect Alicia Olund as the proper petitioner.

                                                  1
          Case 1:10-vv-00505-UNJ Document 83 Filed 05/15/15 Page 2 of 7



September 19, 2008. Petitioner alleged that she developed Guillain-Barrė syndrome (“GBS”)
and/or chronic demyelinating polyneuropathy (“CIDP”), and/or an autoimmune polyneuropathy
(“AP”) that was/were caused in fact by the Human Papillomavirus (“HPV”) vaccines she
received. Petitioner furthered alleged that she experienced the residual effects of her condition
for more than six months. See Petition at 1, 6.

       On April 17, 2015, the parties filed a stipulation in which they agree that a decision
should be entered awarding compensation.

       Respondent denies that petitioner’s GBS, CIDP, and/or AP, or any other condition, was
caused-in-fact by her HPV vaccinations, and/or her Tdap, varicella, and/or her flu vaccinations.
Nevertheless, the parties agree to the joint stipulation, attached hereto as Appendix A. The
undersigned finds the stipulation reasonable and adopts it as the decision of the Court in
awarding damages, on the terms set forth therein.

       The parties stipulated that petitioner shall receive the following compensation:

       a. A lump sum of $160,000.00 in the form of a check payable to petitioner; and

       b. A lump sum of $25,000.00 in the form of a check payable to petitioner and
          Barbara and Curt Olund for past unreimbursed medical expenses.

       Stipulation ¶ 8. These amounts represent compensation for all damages that would be
available under 42 U.S.C. §300aa-15(a).

       The undersigned approves the requested amount for petitioner’s compensation.
Accordingly, an award should be made consistent with the stipulation.

         In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court SHALL ENTER JUDGMENT in accordance with the terms of the parties’
stipulation.4

       IT IS SO ORDERED.

                                              s/ Nora Beth Dorsey
                                              Nora Beth Dorsey
                                              Special Master




4
 Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of
notice renouncing the right to seek review.


                                                 2
Case 1:10-vv-00505-UNJ Document 83 Filed 05/15/15 Page 3 of 7
Case 1:10-vv-00505-UNJ Document 83 Filed 05/15/15 Page 4 of 7
Case 1:10-vv-00505-UNJ Document 83 Filed 05/15/15 Page 5 of 7
Case 1:10-vv-00505-UNJ Document 83 Filed 05/15/15 Page 6 of 7
Case 1:10-vv-00505-UNJ Document 83 Filed 05/15/15 Page 7 of 7
